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                                     Exhibit D Page 1 of 6

Cicero, Gerard T.

Subject:                     MTGOX - Notice of Commencement of Civil Rehabilitation Proceedings
Attachments:                          Notice of Commencement of Rehabilitation Proceedings.pdf



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To whom it may concern:


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       Case 14-31229-sgj15          Doc 180-4 Filed 07/02/18 Entered 07/02/18 11:12:40                   Desc
                                           Exhibit D Page 2 of 6
At 5:00 p.m. on June 22, 2018, the Tokyo District Court issued an order for the commencement of civil rehabilitation
               ô
proceedings vis- -vis MtGox Co., Ltd. (“MTGOX”), and civil rehabilitation proceedings have commenced (Tokyo District
Court Heisei 29 (2017) (sai) No. 35) (the “Civil Rehabilitation Proceedings”). As a result, the previously ongoing
                           ô
bankruptcy proceedings vis- -vis MTGOX have been stayed.
In addition, simultaneously with the order for the commencement of Civil Rehabilitation Proceedings above, an
administration order was issued by the Tokyo District Court, and I have been appointed the Trustee. I will implement
the Civil Rehabilitation Proceedings, including the administration of MTGOX’s assets and the investigation of claims,
subject to the Tokyo District Court’s supervision.
In addition, simultaneously with the order for the commencement of Civil Rehabilitation Proceedings above, the Tokyo
District Court issued an order to amend the examination order, which adds matters to be examined by Hisashi Ito,
attorney-at-law, who has been appointed as the examiner. Accordingly, the examiner will examine the appropriateness
of the proposed rehabilitation plan under the Civil Rehabilitation Proceedings and matters including opinions requested
by the court concerning the Civil Rehabilitation Proceedings, and provide the court with an opinion thereon.
At the request of the Tokyo District Court, a notice of commencement of civil rehabilitation proceedings is attached to
this email. Please kindly check the attached PDF.
For further information on the Civil Rehabilitation Proceedings, kindly refer to the “Announcement of Commencement
of Civil Rehabilitation Proceedings” dated June 22, 2018, posted on MTGOX’s website(https://protect-
us.mimecast.com/s/iSWnCpYX2Gf9v9JAuPQ-An?domain=mtgox.com). The information, among others, measure to file
proof of claim, is expected to be posted on MTGOX’s website(https://protect-
us.mimecast.com/s/iSWnCpYX2Gf9v9JAuPQ-An?domain=mtgox.com). I kindly ask you to await such posting.
For inquires on the Civil Rehabilitation Proceedings, kindly contact the call center below.
Telephone number: +81-3-4588-3922
Operating hours: Monday through Friday, 10:00 a.m. to 5:00 p.m. (Japan time) This email address
(mtgox_trustee@noandt.com<mailto:mtgox_trustee@noandt.com>) is used only for the purpose of the Trustee sending
messages, and we cannot check and respond to any replies to this email address. We plan to provide information on the
Civil Rehabilitation Proceedings by posting it on MTGOX’s website(https://protect-
us.mimecast.com/s/iSWnCpYX2Gf9v9JAuPQ-An?domain=mtgox.com). We kindly ask you to check the website.
Finally, this email is sent for the purpose of providing information to those whose email addresses are known to the
Trustee and those who may have rehabilitation claims. Receipt of this email does not mean that you have been certified
as a rehabilitation creditor. The Trustee owes no legal liability to anyone due to the transmission of this document.
Civil Rehabilitation Debtor: MtGox Co., Ltd.
Trustee: Nobuaki Kobayashi, Attorney-at-law




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                                                         平成 30 年 6 月 22 日
  関係人各位

                              再生手続開始通知書

                                        東京地方裁判所民事 20 部
                                        裁判所書記官 林克行

  事件番号          ：東京地方裁判所平成 29 年（再）第 35 号 再生手続開始申立事件
  本店所在地         ：東京都渋谷区渋谷二丁目 11 番 5 号
  再生債務者         ：株式会社 MTGOX

  1   再生手続開始の通知
       平成 30 年 6 月 22 日午後 5 時 00 分、上記の者に対し、再生手続開始決定がさ
      れましたので、以下のとおり通知します。

      (1) 再生手続開始決定の主文
          株式会社 MTGOX について再生手続を開始する。

      (2) 再生債権の届出期間
          平成 30 年 10 月 22 日まで
      ※ 債権届出の方法、書式、提出先については、追って株式会社 MTGOX のウェ
          ブサイト（https://www.mtgox.com/）で情報提供される予定です。

      (3) 再生債権の一般調査期間
          平成 31 年 1 月 31 日から平成 31 年 2 月 7 日まで

      (4) 再生計画案の提出期間
          平成 31 年 2 月 14 日まで

      (5) 財産状況報告集会の日時及び場所
          平成 30 年 9 月 26 日午後 1 時 30 分
          東京地方裁判所債権者等集会場１（家簡地裁合同庁舎 5 階）

  2   管理命令発令の通知
       株式会社 MTGOX に対する上記再生手続開始申立事件（以下「本再生事件」
      といいます。）について、平成 30 年 6 月 22 日民事再生法による管財人による管
      理命令が発令されましたので、以下のとおり通知します。
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        管財人の氏名        弁護士     小林信明

   なお、再生債務者の財産の所有者及び再生債務者に対して債務を負担する方は、
  再生債務者にその財産を交付し、または弁済をすることができません。再生債務者
  の財産を引き渡すとき、もしくは、再生債務者に対して債務を弁済するときは、上
  記管財人に対してのみすることができます。

  3   問い合わせ先

      (1) 本再生手続の今後の進行等については、追って株式会社 MTGOX のウェブサ
          イト（https://www.mtgox.com/）上で情報提供がされる予定ですので、当該
          ウェブサイトをご確認ください。

      (2) 本再生手続に関するお問い合わせは、下記のコールセンター宛てにお願いし
          ます。
           電話番号  ０３－４５８８－３９２１
           受付時間  月曜日～金曜日 午前 10 時～午後 5 時（日本時間）


                                                                           以上
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                                            [Translation]
                                                                                 June 22, 2018
  To whom it may concern:

                      Notice of Commencement of Rehabilitation Proceedings
                                                Tokyo District Court, 20th Civil Division
                                                Court Clerk: Katsuyuki Hayashi

  Case No.:                   Tokyo District Court, Heisei 29 (2017) (sai) No. 35, In the Matter
                              of a Petition for Commencement of Rehabilitation Proceedings
  Headquarters:               2-11-5 Shibuya, Shibuya-ku, Tokyo, Japan
  Rehabilitation Debtor:               MtGox Co., Ltd. (“MTGOX”)

  1.         Notice of Commencement of Rehabilitation Proceedings
             You are hereby notified as below that, at 5:00 p.m. on June 22, 2018, an order for
             the commencement of rehabilitation proceedings was issued vis-à-vis the entity
             described above.

       (1)   Main text of Order for Commencement of Rehabilitation Proceedings:
             Rehabilitation proceedings against MTGOX have commenced.

       (2)   Period for filing proof of rehabilitation claims:
             Until October 22, 2018
             * Information on the method, form and address for filing proof of rehabilitation
             claims will be posted on MTGOX’s website (https://www.mtgox.com/).

       (3)   Ordinary period for investigation of rehabilitation claims:
             From January 31, 2019, to February 7, 2019

       (4)   Period of Submission proposed rehabilitation plan:
             Until February 14, 2019

       (5)   Date and venue of creditors’ meeting for reporting the status of the assets:
             September 26, 2018, 1:30 p.m.
             Courtroom for Creditors’ Meeting No.1 of Tokyo District Court (5F, Joint
             Government Building for the Domestic, Summary and District Courts)

  2.         Notice of Issuance of Administration Order
             You are hereby notified as below that, on June 22, 2018, an order of administration
             by Trustee was issued in accordance with the Civil Rehabilitation Act on the
             petition for the commencement of rehabilitation proceedings above vis-à-vis
             MTGOX (the “Rehabilitation Proceedings”).

             Trustee: Nobuaki Kobayashi, Attorney-at-law

             The holders of the assets of the Rehabilitation Debtor or the obligors to the
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          Rehabilitation Debtor cannot deliver assets or make any payments to the
          Rehabilitation Debtor directly. Delivery of the asset of Rehabilitation Debtor or
          payments to the Rehabilitation Debtor can only be made to the Trustee above.

  3. Contact

    (1)   Information on the Rehabilitation Proceedings will be posted on MTGOX’s website
          (https://www.mtgox.com/). Please check the website.

    (2) For inquires on the Rehabilitation Proceedings, kindly contact the call center
    below.
            Telephone number: +81-3-4588-3922
            Operating hours: Monday through Friday, 10:00 a.m. to 5:00 p.m. (Japan
                  time)


                                                                          End of document
